                          EXHIBIT L




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Christina Henry

From:                Sarah Hoover <sarahvhoover@gmail.com>
Sent:                Tuesday, November 26, 2019 11:43 AM
To:                  Christina Henry
Subject:             Fwd: PHH Mortgage Loan            5107
Attachments:         Bankruptcy Filing Receipt.pdf; AS Cert and Aff of Trust.pdf; AS Death Certificate.pdf; AS Trust BL
                     House Distribution.pdf; SVH DL Ex 2023.pdf




‐‐‐‐‐‐‐‐‐‐ Forwarded message ‐‐‐‐‐‐‐‐‐
From: Sarah Hoover <sarahvhoover@gmail.com>
Date: Thu, Sep 19, 2019, 5:45 PM
Subject: PHH Mortgage Loan 7091305107
To: Dan Howard <dhoward@elitelegalnetwork.com>
Cc: David Miller <dmiller@elitelegalnetwork.com>


Hi Dan,

Melvin from PHH Mortgage just called me back. He said the bankruptcy filing didn't effect the
loan because I am not a successor of interest on the property. I told him I was and he said that
there is no documentation showing that I am. When I asked them what he needed he said a
copy of the will and the certificate of affidavit of trust. He tried to find the documents in there
but couldn't. Said there were 600 documents and emails in there. So he said he sent up two
review requests and asked if we would fax in the following documents. I don't have a fax
machine, could you guys send it for me please? He suggested that we send a note stating that I
do have an interest in the property and to review the attached documents and advise if there is
anything else they need.

Fax: 856-917-8080

Bankruptcy
Affidavit or Trust
Death Certificate
Will
My DL


Thanks,

Sarah Hoover




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